                Case 3:09-cr-00116-LRH-WGC                  Document 121       Filed 10/11/11         Page 1 of 6
    AO 2458 (Rev.09/08)JudgmcnlinaCrimi
                                      nalCase
              Sheetl

                                              U N ITED STATES D ISTRICT C OU RT
                                                     DISTRICT OF NEVADA

    UNITED STATES OF AM ERICA                          JUD G M EN T IN A 'C RIM TNA L C ASE
                VS.
    HUGO VENADERO/AV ILA                               CASE      ER:           3:09-CR-116-LRH-W G C-5
    aka M uelasaka M uelon aka                         USM NUM BER:            43285-048
    HugoFranciscoVenadero-Avila(TrpeName)
                                                Cvnthia Hahn.A FPD
    TW F,DEFENDANT:                             DEFENDANT'S ATTORNEY

    (X)     pledguiltyto Countts)One2lU.S.C.841(aJ(1).IbJIIJIBJand 846ofthelndictmentfiled l2/2/09
    ()      plednolocontenderetocoulitts)                             whichwasacceptedby thecourt.
    ()      wmsfound guilty on countts)                                afterapleaofnotguilty.
    Thedefendantisadjudicated guiltyoftheseoffensets):
                                                                                           Date
    Title & Section                     Nature ofO ffense                                  O ffenseEnded            .count

    21U.S.C.84l(a)(1),(b)(l)(B) ConspiracywithlntenttoDistributeandto                      1l/l9/09                 1
    and 846                             D istributea Controlled Substance Heroin and
                                        Cocaine


            Thedefendantissentencedasprovidedinpages2through 6 ofthisjudgrnent.Thesentenceisimposedpursuant
    to the Sentencing Reform Actof1984.

    ()      Thedefendanthasbeenfound notguiltyoncountts)
    (X)     Countls)2-5                           aredismissedonthemotionoftheUnited States.
          IT ISORDERED thatthedefendantmustnotifytheUnited StatesAttorney forthisdijtrictwithin30daysofany
    changeofname, residence,ormailing address untilal1Gnes,restitution,costs,and specialaisessm entsimposed by this          '
    judgmentare111),paid. lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorneyof
    materialchangesin econom iccircumstances.

'
                                                                   .   October7.2011
                                                                       Dateoflm position ofJudgment
                             FILED                 RECEIvED                                  .
                  '
                  -'         ENTERED               SERVE:oN
                                       COUNSEUPARNESOFRECORD                           1

                                 0C.1 11 2211                          'Sl atureofJudge
                              CLE
                                .RK.USD                                jwxqx.
                                                                            y R.j-ncx.s
                                        I
                                        STRICTCOURT                    u s DISTRICT JU DGE
                                 DIWRICTOFNEVAIM                         ''
                       BY:                    - -' IlEptrry            Name and Title ofJudge                  .

                                                                              gp z/ gf
                                        .                              oate
           Case 3:09-cr-00116-LRH-WGC              Document 121     Filed 10/11/11     Page 2 of 6
AO 2458 (Rev.09/08)JudgmenlinaCriminalCase
         Sheet2 -lmprisonmenl                                                                                     :
                                                                                                                  I
DEFENDANT:                HUGO VENAD ERO-AVILA aka M uelmsaka M uelon aka                   Judgment-Page 2
                          Hugo Francisco Venadero-Avila(TrueNamel
CASE NUM BER:             3:09-CR-1I6-LRH-W GC-5                                        '                         .

                                               IM PR ISO NM EN T
                                                                                                       '
                                                                                                                  j
       Thedefendantishereby comm ittedtothecustody'oftheU nited StatesBureauofPrisonsto be im prisonedforatotal
tenn of:
       . SIXTY (60)M ONTHS              .                                                                         ,




(X)     Thecourtmakesthefollowing recommendationsto theBureauofPrisons:
        FClSAFFORD,A.Z

(X)     ThedefendantisremandedtothecustodyoftheUnitedStatesM arshal.
()      TbedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict:
        ( ) at                  a.m.
                                   /p.m.on
        ( ) asnotified bytheUnited StatesM arshal.
()      The defendantshallsurrender for service ofsentence atthe institution designated by theBureauofPrisons:    :
        ( ) before 2p.m.on                                                                                        i
        ( ) asnotifiedbytheUnited StatesM arshal.                                                                 k
        ( ) asnotifiedbytheProbation ofPretrialServicesOffice.

                                                    R ETUR N

lhaveexecutedthisjudgmentasfollows:


                                                                                                                  l
Defendantdelivered on                                 to
at                                                                      ,withacertifiedcopyofthisjudgment.

                                                           IJNITED STATES M A RSHAL

                                                           BY :
                                                                    Deputy United StatesM arshal
           Case 3:09-cr-00116-LRH-WGC                      Document 121           Filed 10/11/11        Page 3 of 6
AO 2458 (RevX /()8)JudgmentinaCri
                                m inalCase
         Sheet3-Suprrvi
                      sed Release
DEFENDANT:                 HUGO VENADERO-AVILA aka M uelasaka M uelon aka                                   Judgment-Page 3
                           HugoFranciscoVenadero-Avila(TrueName)
CASE NU M BER:             3:09-CR-116-LRH-W GC-5


                                                    SUPER XRSED R ELEA SE

        Upon release from impriionment,the defendantshallbeon supervised release fora term of FIVE (5)YEARS

       The defendantm ustreportto the probation office in the districtto which thedefendantisreleased within 72 hours
ofreleu e from the custody oftheBureau ofPrisons.                                  .

Thedefendantshallnotcomm itanotherfederal,state,orIocalcrime.

Thedefendantshallnotunlawfully possessacontrolled substance.Thedefendantshallrefrain from any unlaw fuluseofa
controlled substance. Thedefendantshallsubm itto onedrug testwithin 15daysofrelease from im prisonmentand atIemst
two periodicdrug teststhereafter,notto exceed l04 drug testsannually. Revocation ismandatory forrefusalto com ply.

()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesaIow risk
        offuturesubstanceabuse.(Check,ifapplicable.)
(X)     Thedefendantshallnotpossessafireann,ammunition,destructivedevice,oranyotherdangerousweapon.(Check
        ifapplicable.)
(X)     ThedefendantshallcooperateinthecollectionofDNA asdirected bytheprobationoffice.(Check ifapplicable.)
()      Thedefendantshallcom'pIywiththerequirementsoftheSexOffenderRegistrationandNotification Act(42U.S.C.
        j l6901,e?seq.)Asdirected bytheprobation office,theBureauofPrisons,orany statesex offenderregistration
        agency in which he orshe resides.,works,is a student,orwas convicted ofa qualifying offense. (Check,if
        applicable.)
()      Thedefendantshallparticipate in anapproved program fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesafineora restitution,itisa condition ofsupervised releasethatthe defendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.         -
        Thedefendantm ustcomply with the standard conditionsthathave been adopted by this courtas wellaswith any
additionalconditionson the attached page.

                                       STAND             C ONDITIO NS OF SIJPERVISION

1)      thtdtftndantshallnotlcavethejudicialdistrictwithoutthepermissionof'thecourtorprobationoflice;
2)      thedefendantshallrepontotheprobationofliceandshallsubmitatnlthfulandcompletewrittenreportwithinthefirstfivedaysofeachmonth'
3)      thedefendantshallanswertruthfullyallinquiriesbytheprobationofliceandfollow theinstructionsoftheprobationofficc'
4)      thcdeftndantshallsupporthisorhtrdependantsandmcctothcrfamilyresponsibilities;
5)      thedefendantshallworkregularlyatalaurfuloccupationunlessexcusedbytheprobationomcefbrschooling,training,orothtracceptable
        reu ons;
6)      thedefendantshallnotify theprobationoficeatIeasttendayspriortoanychangeinrcsidcnceoremployr     ment;
7)      thedefendantshallrefrainfrom excessiveuseofalcoholantlshallnotpurchase possess,use,distributeoradministeranycontrolledsubstance   .
        Orany Pardphcrnaliarelated to any controlled substances excepta'
                                                                       Jprescribedby aphysician;
8)      thcdcfcndantshallno!frequcntplaceswherecontrolledsubstancesartillegallysold used distributed oradministered;
9)      thtdefendantshallnotassociatewithanypersonsengagedincriminalactivity,andshallnotassociatewithanypersonconvictedofafelony,
        unltssgranted permissionto do soby theprobation ofricc;
l0)     thedefcndantshallpennitaprobationofficctovisithim orhcratanytimtathomeortlsewhcreandshallpennitconfiscationofanycontraband
        observed in plain view orthe probation office;
Il)     thedcfendantshallnotifythcprobationomcewithinseventptwohoursofbeingarrestedorqutstionedbyaIaw enforcementomce;
12)     thedefendantshallnotenterintoanyagreementtoactasaninformeroraspecialagcntofaIaw cnforccmtntagencywithoutthepermission
        ofthecoun;and
I3)     asdirectedb)'theprobationoffice thedefcndantshallnotifythirdpartiesofrisksthatmaybeoccuioncdbythcdel
                                                                                                           kndant'scriminalrecord
        orpersonalhistoryorcharacteristics andshallpermittheprobationofficetomakesuchnotificationsandtocont
                                                                                                          irm thedefendant'scompliance
        with suchnotification requirement.
               Case 3:09-cr-00116-LRH-WGC              Document 121     Filed 10/11/11     Page 4 of 6
    AO2458 (Rev.09/08)JudlmentinaCriminalCase
             Sheet3-SupelvlsedRelease
    DEFENDANT:                HUGO VENDADERO-AVILA aka M uelasaka M uelon aka                  Judgment-Page 4
                              Hugo FranciscoVenadero-Avila(TrueName)
    CASE N UMB ER:            3:09-CR-I16-LRH-W GC-5



                                         SPECIAL CON DITIONS O F SUPERW SIO N

.
    1.      Possession ofW eaoon -The defendantshallnotpossess,have underhis/hercontrol; orhave accessto any Grearm :
            explosive device,orotherdangerousweapons,asdefined by federal state orlocalIaw.

    2.      TrueNam e-The defendantshalluse histrue nam eatalItimesand willbeprohibited from the useofany alimses,
            false datesofbirth,socialsecurity numbers,placesofbirth,and any otherpertinentdemographic information.

    3.      Im m ierationCom oliance-lfdefendantisdeported,heshallnotreentertheUnited StateswithoutIegalauthorization.
            If defendantdoes reenterthe United States,with orw ithoutlegalauthorization,he shallreportin person to the
            probation office in the districtofreentry within 72 hours.

    4.      DenialofFederalBenefitsforDrueTraffickers-2lU.S.C.862(a).ThedefendantshallbeineligibleforalIfederal
            benetitsforaperiodofFIVE (5)YEARS.
    5.      Reportto Probation O ffice AfterRelease from Custodv -lfnotdeported,defendantshallreport,in person,to the
            probation oflice in the Districtto which he isrelemsed w ithin 72 hoursofdischarge from custody.




                       1
               Case 3:09-cr-00116-LRH-WGC                   Document 121       Filed 10/11/11   Page 5 of 6
    AO 2458 (Rcv09/08)JudgmentinaCriminalCase
             Sheel5-CriminalMonetarvPenalties                                                                                1
    DEFENDANT:                HU GO VEN ADERO-AVILA aka M uelasaka M uelon aka                        Judgm ent-Page 5
                              Hugo FranciscoVenadero-Avila(Tn1eName)                                                         '
    CA SE N UM BER:           3:09-CR-l16-LRH-W GC-5

                                            CRIM INAL V ONETARY PENALTIES
            The defendantm ustpay the totalcriminalm onetanzpenaltiesunderthe scheduieofpaym entson Sheet6.              '

                                       Assessm ent               .     Fine                         R estitution

            Totals:                    $100.00                         SW AIVED                     $N/A
                                       Due and payable imm ediately.                            .

    ()      OnmotionbytheGovernment,IT IS ORDERED thatthespecialassessmentimposed bytheCourtisremitted.
'   ()      '
            rhedeterminationorrestitutionisdefbrred until                     . .AnAmendedJudgmentin acriminalcase
            (Ao 245c)willbeenteredaftersuchdetermination.
    ()      Thedefkndantshallmakerestitution(includingcommunityrestitution)tothef'
                                                                                 ollowingpayeesintheamountlisted
            below.

            lfthe defendantm akesa partialpaym ent,each payee shalireceivean approximately proportioned paym ent,unless      .
            specifiedotherwiseinthepriority orderorpercentagepaymentcolumn below.However,pursuantto I8U.S.C.j
            3664(1),allnonfederalvictimsmustbepaid beforetheUnitedStatesispaid.
    Name ofPavee                                TotalLoss              Restitution Ordered          Prioritv ofPercentaee'

    Clerk,U.S.DistrictCourt                                                                                                  '
    Attn:FinancialOffice
    Case No. 3:09-CR-ll6-LRH-W GC-5                                                                                '
    333 LasVegmqBoulevard,South
    LasVegas,N V 8910l      .

    TOTALS                             :        $                      $


    Restitution amountordered pursuantto plea agreem ent: $
    The defendantm ustpay intereston restitution and a Gne ofmorethan $2,500,unlessthe restitution orfine ispaid in full
    beforetbefifteenthday afterthedateofjudgmenqpursuantto l8U.S.C.j36l2(9.AllofthepayrmentoptionsonSheet6
    maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
    Thecourtdeterm ined thatthe defendantdoesnothavethe ability to pay interestand itisordered that:

            theinterestrequirementiswaivedforthe: ( )fine ( )restitution.
            theinterestrequirementforthe: ( )fine ( )restitution ismodifiedmsfoliows:



    *Findings forthe totalamountof lossesare required underChapters 109A, l10,1l0A,and 113A ofTitle 18 foroffenses           '
    comm itted on orafterSeptember13,I994 butbefore April23,1996.



                                                                                                                             !
           Case 3:09-cr-00116-LRH-WGC               Document 121     Filed 10/11/11     Page 6 of 6
AO 2458 (Rev09/0s)Judgmen!inaCriminalCase
          Sheel6-SchtduleofPavments
DEFENDANT:                HUGO VENA DERO-AV ILA aka M uelmsaka M uelon aka                  Judgm ent-Page 6
                          Hugo FranciscoVenadero-Avila(TrueName)                   '
CASE N UM BER:            3:09-CR-116-LltH-W GC-5                                                              ..


                                            SC HE D ULE O F PA       NT S

Having assessed the defendant'sability to pay,paymentofthe totalcriminalm onetary penaltiesaredue msfollows:

A        (X)     Lumpsum paymentof$ 100.00       dueimmediately,balancedue
                 ( ) notIaterthan               ;or
                 ( ) inaccordanùewith( )C,( )D,or( )E below;or
B        ()      Paymenttobegin immediatejy (may becombined with( )C,( )D,or( )E below;or
C        ()      Paymentin                                  (e.g.,weekly,monthly,quarterly)installmentsof$
                        overaperiodof                  (e.g.monthsoryears),to                    (e.g.,30or60days)
                 afterthedateofthisjudgment;or
D        ()      Paymentin          (e.g.,weekly,monthiy,quarterly)installmentsof$         overaperiod of
                      (e.g.,monthsoryears),to          (e.g.,30or60 days)afterrelemsefrom imprisonmenttoatenn
                 issupervision;or                          -

E        Paymentduringtheterm ofsupervisedreleasewillcommencewithin                (e.g.,30or60days)afterrelease
         from im prisonm ent.Thecourtwillsetthepaymentplan basedon anassessmentofthedefendant'sability topay at
         thattim e;or

F        ()      Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:

Unlessthecourthmsexpresslyorderedothem ise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary
penaltiesisdue during imprisonment. AlIcriminalmonetary penalties,exceptthose paym entsm ade through the Federal     .
Bureau ofPrisons'lnmateFinancialResponsibility Program ,are madeto the clerk ofthecourt.

Thedefendantwillreceivecreditforallpaymentspreviously m ade toward any crim inalmonetary penaities'imposed.

()       Jointand Several
         Defendantand Co-DefendantNamesandCaseNumbers(including defendantnumber),TotalAmount,Jointand
         SeveralAmount,and corresponding payee,ifappropriate.

()       Thedefendantshallpay thecostofprosecution.
()       Thedefendantshallpay thefollowingcourtcostts):
()       Thedefendantshallforfeitthedefendant'sinterestin thefollowingpropertytotheUnited States:

Payrmentsshallbeapplied inthefollowingorder:(1)assessment (2)restitution principal,(3)restitution interest,(4)5ne
principal,(5)fineinterest,(6)communityrestitution,(7)penalties,and (8)costs,including costofprosecution and court
costs.
